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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


  The City of New York,

                                       Plaintiff,

                        -v-                                              20-cv-5965
                                                                        (NJC) (JAM)
  Old Dominion Tobacco Company, Incorporated d/b/a
  Atlantic Dominion Distributors,
                                  Defendants.



             ORDER OF DISMISSAL AND RETENTION OF JURISDICTION

      WHEREAS, on or about December 8, 2020, the City of New York (the “City”)
 commenced the above-captioned action (the “Action”) against the Old Dominion Tobacco
 Company, Inc. d/b/a Atlantic Dominion (“Atlantic Dominion”);

         WHEREAS, Atlantic Dominion and the City have resolved to settle the Action in
 accordance with the terms set forth in the Consent Order (ECF No. 94) entered by the Court on
 June 7, 2024;

        WHEREAS, the Court has agreed to retain jurisdiction until December 31, 2026 to enforce
 the Consent Order pursuant to Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 381-
 82 (1994) (Consent Order ¶ 19);

        NOW, THEREFORE, IT IS HEREBY ORDERED:

 1.     Atlantic Dominion and the City agree to comply with the terms of the Consent Order (ECF
        No. 94) entered by the Court on June 7, 2024.

 2.     The Court shall retain jurisdiction until December 31, 2026 to enforce the terms of the
        Consent Order pursuant to Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375,
        381-82 (1994).

 3.     Except as provided in paragraph 2 above, the Action is dismissed with prejudice under Fed.
        R. Civ. P. 41(a)(2). Each party shall bear its own attorney’s fees and costs.




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 It is SO ORDERED this 20th day of June 2024.



 Dated:       Central Islip, New York
              June 20, 2024
                                                  /s/ Nusrat J. Choudhury
                                                NUSRAT J. CHOUDHURY
                                                United States District Judge




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